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 Public Record Requests




                                    Open



                                                       Pursuant to the state open records law N.C. Gen.
                                                       Stat. Secs. 132-1 to 132-11, I write to request
  January 5, 2024 via web                              access to and a copy of records containing the
                                                       name of any student who has — between January
                                                       1, 2021 to the present date — been found
                                                       responsible for sexual misconduct through UNC-
                                                       Chapel Hill’s disciplinary proceedings, the violation
                                                       committed, and the sanction imposed.
     Emily Vespa

                                                       I've reviewed the Equal Opportunity and
                                                       Compliance O ce's Annual Reports, but these
                                                       reports only contained aggregate data, and I'm
                                                       looking for records that disclose the name of each
                                                       student, the violation committed, and
                                                       any subsequent sanctions.
 No departments assigned


 Public Records O ce                                   Please notify me in advance of any fees associated
                                                       with this request. I’m not requesting these records
                                                       for commercial purposes.


                                                       If my request is denied in whole or part, I ask that
                                                       you justify all deletions and redactions by
                                                       reference to speci c exemptions in the state open
                                                       records act.



                                                                                                  Show less




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                                        Request received via web
                                      January 5, 2024, 3:15pm by Emily Vespa




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